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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

USA                                                    §
                                                       §
vs.                                                    § NO: SA:21-CR-00154(1,2,3,4)-FB
                                                       §
(1) Juan Enrique Kramer                                §
(2) Adriana Pastor                                     §
(3) Noel Olguin                                        §
(4) Karina Hernandez                                   §

                           ORDER GRANTING CONTINUANCE AND
                             AMENDING SCHEDULING ORDER

        The matter before the court is the status of this case. Due to matters beyond the control of the Court,

the Court finds that the trial in this case should be and is continued and makes the following amended

schedule:

                 The deadline for notifying the Court of any plea agreement entered into by
        the parties in this cause is Friday, January 14, 2022. No plea agreement entered
        into after that date shall be honored by this Court without good cause shown for the
        delay.

                Docket call AND REARRAIGNMENT AND PLEA are reset for
        Wednesday, January 19, 2022 at 9:00 AM in Courtroom G on the Third
        Floor of the United States District Courthouse, 262 West Nueva Street, San Antonio,
        TX (Guilty plea will be taken at docket call – no other order will be sent.) DO
        NOT ASSUME A CONTINUANCE IS GRANTED -- YOU MUST HAVE A
        SIGNED ORDER BY THE COURT OR HAVE RECEIVED A CALL
        FROM THE COURTROOM DEPUTY OR COURT STAFF ADVISING OF
        SAME.

               Jury selection and trial are reset for Monday, January 24, 2022 at 09:30
        AM in Courtroom G on the Third Floor of the United States District Courthouse, 262
        West Nueva Street, San Antonio, TX. Motions to Suppress will be heard
        immediately prior to jury selection or will be carried with the trial unless otherwise
        ordered by the Court.

   The Court finds that the period between Monday, January 10, 2022 and Monday, January 24,
2022 is a reasonable period of necessary delay to allow counsel time for preparation for trial and
further finds that such period shall be excluded from the time within which the defendant must be
brought to trial and that the ends of justice served by taking such action outweighs the best interest of
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the public and the defendant in a speedy trial under the Speedy Trial Act pursuant to Title 18, United
States Code, Section 3161(h)(7)(A).

         AS A REMINDER TO THE ATTORNEY FOR DEFENDANT: If your client is in

custody, arrangements should be made with the U.S. Marshal Service prior to the date of jury

selection and trial to ensure your client has proper attire. In addition, whenever defendants or

witnesses have a need for the services of the court interpreter, please notify Jaemie Herndon,

Courtroom Deputy to Judge Biery, 210/472-6550, ext. 5005, no later than five (5) days before this

court setting.

         All exhibits shall be marked with both the case and exhibit numbers by counsel prior to

trial.

         The Clerk of Court shall send a copy of this order to the United States Attorney, attorney for

defendant, United States Marshal, United States Probation Officer, and Pretrial Services Officer.

Counsel for defendant shall notify defendant of this setting and, if defendant is on bond, advise

the defendant that he/she must be present for all court settings unless excused by the Court. If

defendant is in state custody, or a writ required, the Assistant United States Attorney shall

immediately prepare and file with the Clerk’s Office the appropriate application and order.

         IT IS SO ORDERED this 20th day of December, 2021.

                                                     ______________________________
                                                     FRED BIERY
                                                     UNITED STATES DISTRICT JUDGE
